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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF KANSAS


                                                 )
ELIZABETH EASTES,                                )
                                                 )           CASE NO.: 6:14-cv-01375
                Plaintiff,                       )
                                                 )
      v.                                         )      (SEDGWICK CO. CASE NO.: 14CV2939)
                                                 )
SEQUEL OF KANSAS, LLC d/b/a                      )             NOTICE OF REMOVAL
RIVERSIDE ACADEMY,                               )
                                                 )
                Defendant.                       )
                                                 )

      Pursuant to 28 U.S.C. § 1446(a) and Fed. R. Civ. P. 81(c), Defendant Sequel of Kansas,

LLC d/b/a Riverside Academy hereby gives notice of removal of this civil action from the

District Court, Sedgwick County, Kansas (the “State Action”) to the United States District

Court for the District of Kansas, and in support thereof states as follows:

                                          INTRODUCTION

      1.        On or about October 22, 2014, plaintiff Elizabeth Eastes filed suit in the District

Court, Sedgwick County, Kansas under Case No. 14CV2939. On or about October 24, 2014,

Defendant Sequel of Kansas, LLC d/b/a Riverside Academy was served with the Summons

and Petition, copies of which are attached at Exhibit A. No process, pleadings or other

documents have been served upon the moving Defendant other than the attached Summons

and Petition.

                                    I. NATURE OF THE SUIT

      2.         In Plaintiff’s Petition, she alleges violations of the Fair labor Standards Act, 29

USC §§ 201 et seq (FLSA) and seeks damages thereunder from Defendant.

                                   II. BASIS FOR REMOVAL
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      3.       This Court has original federal question jurisdiction over this action in that it is

a civil action founded on a claim or right arising under the laws of the United States. 28 U.S.C.

§ 1331, Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740, 753 181 L. Ed. 2d 881, 899

(2012). Therefore, removal pursuant to 28 U.S.C. § 1441 et seq. is proper here.

      4.       The time within which Sequel of Kansas, LLC d/b/a Riverside Academy

is required to file this Notice of Removal has not yet expired. See 28 U.S.C. § 1446(b).

               III. NOTICE OF REMOVAL IS PROCEDURALLY CORRECT

      5.       Sequel of Kansas, LLC d/b/a Riverside Academy’s Notice of Removal is

procedurally correct; Sequel of Kansas, LLC d/b/a Riverside Academy is the only named

and served defendant in the suit.

      6.       Filed concurrently herewith is the Certification Pursuant to Local Rule 81.1

whereby Sequel of Kansas, LLC d/b/a Riverside Academy is providing the Court with the

information required by that Local Rule.

      7.       Venue is proper in this district under 28 U.S.C. § 1441(a) because this district

and division embrace the place in which the removed suit was pending

      8.       Defendant Sequel of Kansas, LLC d/b/a Riverside Academy will promptly

file a copy of this Notice of Removal with the Clerk of the state court in which the suit is

pending.

      WHEREFORE, Defendant Sequel of Kansas, LLC d/b/a Riverside Academy prays

this Court remove this matter from the District Court, Sedgwick County, Kansas to the United

States District Court for the District of Kansas.
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                                              Respectfully submitted,

                                              /s/ Brian P. Rickert
                                              Brian P. Rickert, Kansas Bar # 19041

                                              BROWN, WINICK, GRAVES, GROSS,
                                              BASKERVILLE AND SCHOENEBAUM, P.L.C.
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                                              ATTORNEY FOR DEFENDANT

                               CERTIFICATE OF SERVICE


       I certify that on November 13, 2014, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system. The undersigned attorney also hereby certifies that a copy

of the foregoing was served this 13th day of November, 2014 via First Class United States Mail,

postage prepaid and properly addressed to the following:


Aaron J. Good, #25067
Klenda Austerman, LLC
1600 Epic Center
301 North Main
Wichita, KS 67020-4816

ATTORNEY FOR PLAINTIFF


                                                    /s/ Crystal Kansala
                                                    Crystal Kansala
